                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,

 V.                                               No. 3:24-cr-00189

 DAVID AARON BLOYED,

        Defendant.


                                    VERDICT FORM

       With respect to Count One of the Indictment, which charges communicating a threat in

interstate commerce, in violation of 18 U.S.C. § 875(c), we the Jury, unanimously find the

defendant David Aaron Bloyed (check one):



              Not Guilty                               Guilty    `V




                                                       FOREPERSO


                                                       AbA            2~
                                                       DATE




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